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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

  ERIC BERNARD,                                      )
                                                     )
                   Plaintiff,                        )
                                                     )   Case No. 20-CV-50412
                                                     )
             v.                                      )
                                                     )   Honorable Judge Iain D. Johnston
  ROB JEFFREYS, et. al.                              )
                                                     )
                   Defendants.                       )

 DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR INVOLUNTARY
            DISMISSAL PURSUANT TO FED. R. CIV. P. 12(b)(6)

    I.       INTRODUCTION

          On May 18, 2022, Plaintiff filed his Amended Complaint (“AC”) against Defendants Rob

Jeffreys, Andrea Tack, Sonja Nicklaus, John Varga, Ann Granger, Monica Carpenter, Celia

Grossman, Laci Barlo, Wexford Health Sources, Inc., and unnamed defendants. Plaintiff’s AC

alleges three claims: 1) a Title II Americans with Disabilities Act (“ADA”) claim against all

defendants; 2) a Rehabilitation Act claim against all defendants; and 3) a Title III Americans with

Disabilities Act (“ADA”) claim against Wexford. Defendant now moves for a dismissal of counts

1 and 2 against her in its entirety.

    II.      STANDARD OF REVIEW

          The Court reviews a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), to determine

whether the allegations in the complaint are sufficient to state a cause of action upon which relief

may be granted. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The well-pleaded

allegations in the complaint are taken as true and all reasonable inferences from those allegations

are construed in a light most favorable to the non-moving party. Ray v. City of Chicago, 629 F. 3d



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660, 662 (7th Cir. 2011); Bielanski v. County of Kane, 550 F. 3d 632, 633 (7th Cir. 2008). While

“detailed factual allegations” are not required, “labels and conclusions, and a formulaic recitation

of the elements of a cause of action will not do.” Bell Atlantic Corp., 550 U.S. at 555. The question

presented in a Rule 12(b)(6) motion to dismiss is whether the plaintiff has alleged facts sufficient

to state a cause of action that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp., 550 U.S. at 570). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. The Court need not draw inferences that

are not apparent on the face of the complaint. See McCauley v. City of Chicago, 671 F. 3d 611,

616 (7th Cir. 2011). Claims can be dismissed at the Rule 12(b)(6) stage on Eleventh Amendment

immunity grounds. See Williams v. Seniff, 342 F.3d 774, 786 n.9 (7th Cir. 2003) (Rule 12(b)(6)

alone).

   III.      ARGUMENT

             A. A warden is not the proper party under the ADA or the Rehabilitation Act.

          This Court should dismiss counts 1 and 2 against Defendant, who is not the proper party

under the ADA or the Rehabilitation Act. To state a claim under the ADA and/or the Rehabilitation

Act, Plaintiff must allege that “(1) he is a qualified person (2) with a disability and (3) the

Department of Corrections denied him access to a program or activity because of his disability.”

Jaros v. Ill. Dep’t of Corr., 684 F.3d 667, 672 (7th Cir. 2012). However, individual employees of

the IDOC are not “amenable to suit under the Rehabilitation Act or the ADA.” Jaros at 670.

“Congress intended only for employers to be liable for their agent's actions under the traditional

respondeat superior doctrine, not for agents to be personally liable.” Gastineau v. Fleet Mortg.

Corp., 137 F.3d 490, 494 (7th Cir. 1998). A warden, as an individual employee of a prison, is not



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liable under the ADA or the Rehabilitation Act; the proper party under the ADA or the

Rehabilitation act is IDOC or the Director of IDOC. See Jaros, 684 F.3d at 670. Accordingly,

this Court should dismiss counts 1 and 2 against Defendant.

         Although defendants Andrea Tack, John Varga, Ann Granger, and other defendants have

not yet been served with the AC, Defendant notes that the same arguments regarding proper party

for an ADA/Rehabilitation Act claim apply to any other IDOC defendant. In the interest of judicial

economy, Defendant respectfully requests that this Court, on its own motion and pursuant to 28

U.S. Code § 1915A, dismiss counts 1 and 2 against defendants Andrea Tack, John Varga, Ann

Granger and bar Plaintiff from filing any amended claims under the ADA or the Rehabilitation

Act against defendants Andrea Tack, John Varga, Ann Granger or any other individual IDOC

defendants who are not the Director of IDOC.           Plaintiff’s requests for relief under the

ADA/Rehabilitation act are properly directed to the Director of IDOC, and to the Director alone.

   IV.      CONCLUSION

         WHEREFORE, Defendant respectfully requests that her motion to dismiss be granted and

for such further relief as this Honorable Court deems appropriate and just.


Dated: May 27, 2022


                                                       Respectfully submitted,

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